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 4
                                UNITED STATES DISTRICT COURT
 5                                   DISTRICT OF NEVADA

 6   UNITED STATES OF AMERICA,                          3:20-CR-032-LRH-CLB

 7                 Plaintiff,                           Order Determining Third-Party Ownership

 8          v.

 9   DANNY LEE DORREGO,
10                 Defendant,

11   PAUL ALLEN RUGGERI,
     DAVID MARIO RUGGERI, and
12   TOP PERFORMANCE TRUST,

13                 Petitioners.

14          The Court finds, pursuant to 21 U.S.C. § 853(n)(6)(A), that Paul Allen Ruggeri has

15   established by a preponderance of the evidence that he has a preexisting, innocent

16   ownership interest in (1) a Black Ops Defense, Model L, 5.56mm semi-automatic rifle

17   bearing serial number L1621; and (2) a Black Ops Defense, Model L, 5.56mm semi-

18   automatic rifle bearing serial number L1622.

19          The Court finds, pursuant to 21 U.S.C. § 853(n)(6)(A), that David Mario Ruggeri has

20   established by a preponderance of the evidence that he has a preexisting, innocent

21   ownership interest in a Century Arms, Model VZ2008 Sporter, 7.62x39mm, semi-automatic

22   rifle bearing serial number VZ05001.

23          The Court finds, pursuant to 21 U.S.C. § 853(n)(6)(A), that Top Performance Trust

24   has established by a preponderance of the evidence that it has a preexisting, innocent

25   ownership interest in a McKay Enterprise, Model RMUZ-09, 9mm pistol bearing serial

26   number RMU00305.

27          The Court finds, for good cause shown and because Paul Allen Ruggeri, David

28   Mario Ruggeri, and Top Performance Trust do not object, that the United States shall be



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 1   entitled to retain possession of the aforementioned firearms for a period necessary to satisfy

 2   its evidentiary and appeals needs for that property in this criminal matter.

 3          It is therefore ORDERED that the United States of America’s Motion is

 4   GRANTED, and the Court makes the above determination of third-party ownership over

 5   the aforementioned firearms.

 6          It is further ORDERED that any proposed final order of forfeiture in this matter

 7   reflect the contents of this Order.

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                                                        ___________________________________
10                                                      LARRY R. HICKS
                                                        UNITED STATES DISTRICT JUDGE
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12                                                      DATED: 22nd day of November, 2021.

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